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                                                                                    FILED
                                                                       UNITED STATES DISTRICT COT,'RI
                                                           ALBUQUEFQUH {HW N,iEXICO
                         IN THE UNITED STATES DISTRICT COURT
                                                                                    NO\/ 2   I ?023
                             FOR THE DISTRICT OF NEW MEXICO
                                                                           MITCHELL Fi. ELFER.S
LINITED STATES OF AMERICA,                                                       C[-ERK

                Plaintiff,                             CRTMTNAL No.      )? , ih'4 fnh
        vs.                                            Counts 1, 3, and 5: 18 U.S.C.
                                                       $$ 933(a)(1) and 933(b): Firearms
ISAIAH ROJAS,                                          Trafficking;

                Defendant.                             Count 2: $$ 932(b)(2),932(bX3), and
                                                       932(c)(2): Straw Purchasing Firearms;

                                                       Count 4: 26U.S.C. $$ 5841, 5861(d) and
                                                       5871 Possession of a Firearm Not
                                                       Registered with the National Firearms
                                                       Registration and Transfer Record;

                                                       Count 6: 18 U.S.C. $$ 922(o) and
                                                       92a@)Q): Unlawful Possession and
                                                       Transfer of a Machinegun;

                                                       Count 7: 18 U.S.C. $$ 922(k) and
                                                       92a@)Q)@): Possession of a Firearm
                                                       with an Obliterated Serial Number.


                                      INDICTMENT
The Grand Jury charges:

                                             Count 1

       On or about May 16,2023, in Santa Fe County, in the District ofNew Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, shipped, transported, transferred, caused to be

transported, and otherwise disposed of a firearm to another person in and otherwise affecting

interstate or foreign commerce, knowing and having reasonable cause to believe that the use,

carrying, and possession of a firearm by the recipient would constitute a felony.

       In violation of 18 U.S.C. $$ 933(a)(1) and 933(b).
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                                             Count 2

       On or about May 16, 2023, in Santa Fe County, in the District of New Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, knowingly purchased a firearm in and otherwise

affecting interstate and foreign cornmerce for, on behalf of, and at the request and demand of any

other person, knowing and having reasonable cause to believe that such other person intended to

use, cany, possess, and sell and otherwise dispose of the fuearm in furtherance of a felony and a

drug trafficking crime, and that such other person intended to sell and otherwise dispose of the

firearm to a person who intended to use, carry,possess, and sell and otherwise dispose of the

firearm in furtherance of a felony and a drug trafficking crime.

       In violation of 18 U.S.C. $$ 932(b)(2),932(b)(3), and 932(c)(2).

                                              Count 3

       On or about June 3, 2023, in Santa Fe County, in the District of New Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, shipped, transported, transferred, caused to be

transported, and otherwise disposed of a firearm to another person in and otherwise affecting

interstate and foreign corlmerce, knowing and having'reasonable cause to believe that the use,

carrying, and possession of a firearm by the recipient would constitute a felony.

       In violation of 18 U.S.C. $$ 933(a)(1) and 933(b).

                                              Count 4

       On or about June 3, 2023, in Santa Fe County, in the District of New Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, knowingly possessed a firearm, a rifle with a barrel

length less than 16 inches and an overall length less than 26 inches, that was not registered in the

National Firearms Registration and Transfer Record.

       In violation of 26 U.S.C. $$ 5841, 5861(d), and 5871.
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                                             Count 5

       On or about September 8,2023,in Bernalillo County, in the District ofNew Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, shipped, transported, transferred, caused to be

transported, and otherwise disposed of a firearm to another person in and otherwise affecting

interstate and foreign corlmerce, knowing and having reasonable cause to believe that the use,

carrying, and possession of a firearm by the recipient would constitute a felony.

       In violation of 18 U.S.C. $$ 933(a)(1) and 933(b).

                                             Count 6

       On or about September 8,2023, in Bernalillo County, in the District of New Mexico, and

elsewhere, the defendant, ISAIAH ROJAS, knowingly possessed and transferred a machinegun,

which the defendant knew to be capable of automatically firing more than one shot, without

manual reloading, by a single function of the trigger.

       In violation of 18 U.S.C. $$ 922(o) and92a@)Q).

                                              Count 7

       On or about September 8,2023, in Bemalillo County, in the District of New Mexico, and

elsewhere, the defendant, ISAIAII ROJAS, knowingly possessed a firearm, that is three

Palmetto State Armory multi-caliber PA-15 rifles, that had been shipped and transported in

interstate and foreign commerce, knowing that the manufacturer's serial number had been

removed, altered, and obliterated.

        In violation of 18 U.S.C. $$ 922(k) afi924(a)(1xB).
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                                 A TRUE BILL:



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